      Case 2:18-mj-02791-DUTY Document 33 Filed 10/24/18 Page 1 of 1 Page ID #:124
                                        UNITED STATES DISTRICT COURT
                                       CENTRAL DISTRICT OF CALIFORNIA

        MINUTES -DETENTION HEARING -REVIEW/RECONSIDERATION OF BAIL /DETENTION ORDER -
                                       NEBBIA HEARING

Case No. 18MJ2791-DUTY-1                                       CourtSmart 10/24/2018                Date: October 24, 2018
Present: The Honorable Karen L. Stevenson                                                                   U.S. Magistrate Judge
              G. Roberson                                   David Ryan                                           None
              Deputy Clerk                            Assistant U.S. Attorney                             Interpreter /Language


 USA v. ROBERT RUNDO                                              Attorney Present for Defendant:
                                                                     Julia Deixler
    Present       Custody    ❑Bond   ❑Not present                   Present     ❑ CJA   ❑ Retd       DFPD    ❑Not present

PROCEEDINGS: DETENTION HEARING
~
L  Government's request for detention is: C~GRANTED ❑DENIED ❑WITHDRAWN ❑CONTINUED
❑ Witnesses CST (see separate list).         ❑ Eachibits Marked/Admitted (see separate list).
❑ Court orders that exhibits be returned to the respective counsel /party ofrecord.
   ❑ See Receipt for Release of E~chibits to Counsel.
❑ Counsel stipulation to bail.
C~ Court finds presumption under 18 USC 3142e                                   has not been rebutted.
C~ Court ORDERS DEFENDANT PERMANENTLY DETAINED. See separate detention order.
❑ Court finds presumption under 18 USC 3142e                                    has been rebutted.
❑ Court sets bail at: $                                                ❑ SEE ATTACHED COPY OF CR-01 BOND FORM
   FOR CONDITIONS OF RELEASE.
❑ Court orders that defendant be detained for a period not to exceed ten (10)Court days. See separate order re temporary detention.
❑ Court orders further detention /bail hearing to be set on                                       at               ❑a.m./ ❑p.m. in
   Courtroom                                          before Judge
❑ Court orders case continued to                               at               ❑a.m. / ❑p.m. for                          ,in
   Courtroom                                 before Judge
❑ Release Order Issued -Release No.
❑ Other:


PROCEEDINGS:                 ❑REVIEW /RECONSIDERATION OF BAIL /DETENTION ORDER -BOND HEARING
                             ❑ NEBBIA HEARING

 Hearing on ❑Plaintiff's ❑Defendant's request for review /reconsideration of bail /detention order had and request is:
                           ❑ GRANTED ❑DENIED
 Court ORDERS bail as to the above-named defendant ❑modified to ❑set at: ~
     ❑ SEE ATTACHED COPY OF CR-01 BOND FORM FOR CONDITIONS OF RELEASE.
 ❑ Bond previously set is ordered vacated.
 ❑ Court orders defendant permanently detained. See separate order.
 ❑ Court denies request for bail, defendant shall remain permanently detained as previously ordered.
 ❑ Witnesses CST (see separate list).        D Exhibits Marked /Admitted (see separate list).
 ❑ Court orders that exhibits be returned to the respective counsel /party of record.
     ❑ See Receipt for Release of Exhibits to Counsel.
 ❑ Case continued to                                   at                ❑ a.m. / ❑ p.m. for
     before Judge                                                                 in Courtroom
 ❑ Nebbia conditions are satisfied and the Government approves the bond package as presented to the Court.
 ❑ Other


 Release Order Issued -Release No.                                                                                   • 27
                                                                                         Deputy Clerk Initials      gr


M-46(06/]0)    MINUTES -DETENTION HEARING - REVIEW/RECONSIDERATION OF BAIL /DETENTION ORDER - NEBBIA HEARING
